     16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 1 of 59

 Fill in this information to identify the case and this filing:

                 San Gabriel Resources L.L.C.
 Debtor Name __________________________________________________________________
                                            Western                               Texas
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                 (State)
 Case number (If known):    16-10433-tmd
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         x
         #    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         x
         #    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         x
         #    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         x
         #    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         x
         #    Schedule H: Codebtors (Official Form 206H)
         x
         #    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         #    Amended Schedule ____


         #    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         #    Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                            4/26/2016
        Executed on ______________                          "         /s/ Steven R. Foy
                                                                _________________________________________________________________________
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor


                                                                  Steven R. Foy
                                                                  ________________________________________________________________________
                                                                  Printed name

                                                                  President
                                                                  ______________________________________
                                                                  Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 2 of 59
  Fill in this information to identify the case:

                 San Gabriel Resources L.L.C.
  Debtor name __________________________________________________________________

                                           Western                           Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     16-10433-tmd
                              _________________________                                                                              " Check if this is an
                                                                                                                                          amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   "      No. Go to Part 2.
   "
   Ï      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand
                                                                                                                                   0.00
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
          Frost Bank                                                                             5 ____
                                                                                                      8 ____3 ____
                                                                                                                8                   1339.58
                                                          Checking
   3.1. _________________________________________________ ______________________                ____                              $______________________
         Horizon Bank
   3.2. _________________________________________________ Checking
                                                          ______________________                ____ ____ ____ ____
                                                                                                    1   2      5    0               -164.18
                                                                                                                                  $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                  1,175.40
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   "
   Ï      No. Go to Part 3.
   "      Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits
   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets         Real and Personal Property                               page 1
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 3 of 59
Debtor         San Gabriel Resources L.L.C.
               _______________________________________________________
                                                                                                                    16-10433-tmd
                                                                                                Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.                                                                                                                 0.00
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    "
    Ï No. Go to Part 4.


    " Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ $                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ $                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                0.00
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    "
    Ï
      No. Go to Part 5.
    " Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4                                                                                                                0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets       Real and Personal Property                               page 2
     16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 4 of 59
Debtor          San Gabriel Resources L.L.C.
                _______________________________________________________                                          16-10433-tmd
                                                                                          Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    "
    Ï No. Go to Part 6.

    " Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used        Current value of
                                                    physical inventory    debtor's interest     for current value            debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                          $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                           0.00
                                                                                                                            $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    "     No
    "     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    "     No
    "     Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    "     No
    "     Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    "
    Ï No. Go to Part 7.

    " Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used        Current value of debtor’s
                                                                          debtor's interest     for current value            interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets    Real and Personal Property                              page 3
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 5 of 59
Debtor         San Gabriel Resources L.L.C.
               _______________________________________________________                                               16-10433-tmd
                                                                                              Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                             0.00
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    " No
    " Yes. Is any of the debtor’s property stored at the cooperative?
      " No
      " Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    " No
    " Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

    " No
    " Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    " No
    " Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    " No. Go to Part 8.
    " Yes. Fill in the information below.
     Ï




   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    Copier - Leased                                                                                                               0.00
   ______________________________________________________________              $________________     ____________________       $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.                                                                                                             0.00
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    "
    Ï
      No
    " Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    " No
     Ï



    " Yes

Official Form 206A/B                                        Schedule A/B: Assets      Real and Personal Property                              page 4
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 6 of 59
 Debtor         San Gabriel Resources L.L.C.
                _______________________________________________________                                           16-10433-tmd
                                                                                           Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
    Ï No. Go to Part 9.
    "
    " Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            0.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    "     No
    "     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    "     No
    "     Yes




 Official Form 206A/B                                     Schedule A/B: Assets     Real and Personal Property                              page 5
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 7 of 59
Debtor          San Gabriel Resources L.L.C.
                _______________________________________________________
                                                                                                                    16-10433-tmd
                                                                                                 Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    "
    Ï No. Go to Part 10.
    " Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________      ____________________        $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                  0.00
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    "     No
    "     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    "     No
    "     Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    "
    Ï
      No. Go to Part 11.
    " Yes. Fill in the information below.
      General description                                                         Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                  0.00
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets       Real and Personal Property                              page 6
     16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 8 of 59
Debtor          San Gabriel Resources L.L.C.
                _______________________________________________________                                                16-10433-tmd
                                                                                                Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    "    No
    "    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    "    No
    "    Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    "    No
    "    Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    "     No. Go to Part 12.
    x
    "     Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =$   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Claim against Fortitude Energy, LLC                                                                                             11,484,884
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   indemnity
                                      ___________________________________

    Amount requested                    11,484,884
                                      $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Claim against Fortitude Energy, LLC
    ______________________________________________________________
                                                                                                                                       unknown
                                                                                                                                    $_______________________

    Nature of claim                   breach of contract
                                      ___________________________________

    Amount requested                   unknown
                                      $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.                                                                                                                 11,484,884
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    Ï
    "    No
    "    Yes

Official Form 206A/B                                        Schedule A/B: Assets        Real and Personal Property                              page 7
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 9 of 59
Debtor             San Gabriel Resources L.L.C.9
                  _______________________________________________________                                                                        16-10433-tmd
                                                                                                                          Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                     1,175.40
                                                                                                         $_______________

                                                                                                            0.00
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                            0.00
82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________

                                                                                                            0.00
83. Investments. Copy line 17, Part 4.                                                                   $_______________

                                                                                                          0.00
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.

                                                                                                          0.00
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                          0.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                           0.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9. . ..................................................................................... $
                                                                                                                                                  0.00
                                                                                                                                                $________________
                                                                                                           00.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________

                                                                                                    +       11,484,884
                                                                                                         $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                            11,486,059.40                        0.00
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................       11,486,059.40
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets                Real and Personal Property                                   page 8
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 10 of
                                                 59
  Fill in this information to identify the case:
                 San Gabriel Resources L.L.C.
  Debtor name __________________________________________________________________
                                          Western
  United States Bankruptcy Court for the: ______________________             Texas
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      16-10433-tmd
                               _________________________
                                                                                                                                                     " Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     Ï   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                "   No
                                                                "   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                "   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                "   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    " No                                                        "   Contingent
    " Yes. Specify each creditor, including this creditor,      "   Unliquidated
             and its relative priority.                         "   Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                "   No
                                                                "   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                "   No
    number                   ___ ___ ___ ___
                                                                "   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    " No                                                        "   Contingent
    " Yes. Have you already specified the relative              "   Unliquidated
             priority?                                          "   Disputed
         "   No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
         "   Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        1
                                                                                                                                                           page 1 of ___
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 11 of
   Fill in this information to identify the case: 59

   Debtor
                    San Gabriel Resources L.L.C.
                    __________________________________________________________________
                                                Western
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                  Texas
                                                                                              (State)
   Case number      16-10433-tmd
                    ___________________________________________
    (If known)

                                                                                                                                                  " Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    "
    Ï No. Go to Part 2.
    "    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                           "   Contingent
                                                                          "   Unliquidated
    ___________________________________________                           "   Disputed
    Date or dates debt was incurred                                       Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                           " No
                                                                          " Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  26
                                                                                                                                                       page 1 of ___
           16-10433-tmd
                San Gabriel Doc#7
                              Resources Filed  04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd
                                           L.L.C.                                                  Document Pg 12 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                   59
 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                 82,607.75
                                                                 Check all that apply.                                     $________________________________
    American  Safety  Services Inc. d/b/a
    ____________________________________________________________
      American Production Services                               " Contingent
                                                                 " Unliquidated
     P.O. Box 12874
    ____________________________________________________________ " Disputed
     Odessa, TX 79768-2874
    ____________________________________________________________                                 Trade Debt
                                                                           Basis for the claim: ________________________

                                               12/2013 - 10/2014           Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:        10,000.00
                                                                 Check all that apply.                                     $________________________________
      Anderson Perforating, Ltd.
    ____________________________________________________________
                                                                           "   Contingent
                                                                           "   Unliquidated
    ____________________________________________________________           "   Disputed
      Albany, TX 76430-8030
    ____________________________________________________________
                                                                                                 Trade Debt
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             12/2013 - 10/2014
                                               ___________________         Is the claim subject to offset?
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:        287,280.22
                                                                                                                           $________________________________
      Apollo Perforators, Inc.                                             Check all that apply.
    ____________________________________________________________
                                                                           "   Contingent
       P.O. Box 12940                                                      "   Unliquidated
    ____________________________________________________________           "   Disputed
       Odessa, TX 79768-2940
    ____________________________________________________________
                                                                           Basis for the claim: Trade Debt
                                                                                                ________________________
                                                12/2013 - 10/2014          Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.4 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                   24,425.88
                                                                                                                           $________________________________
      Arnold Oil Company Fuels, LLC
    ____________________________________________________________
                                                                 Check all that apply.
                                                                           "   Contingent
      5909 Burleson Rd.                                                    "   Unliquidated
    ____________________________________________________________           "   Disputed
      Austin, TX 78744
    ____________________________________________________________                                 Trade Debt
                                                                           Basis for the claim: ________________________

                                                12/2013 - 10/2014          Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:       383,340.73
      BDA Equipment Rental, LLC                                            Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                           "   Contingent
       P.O. Box 1439                                                       "   Unliquidated
    ____________________________________________________________
                                                                           "   Disputed
       Monahans, TX 79756-1439
    ____________________________________________________________
                                                                                                Trade Debt
                                                                           Basis for the claim: ________________________
                                                12/2013 - 10/2014          Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                           "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes

3.6 Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                1,407,598.18
                                                                                                                           $________________________________
      GCI, Inc., d/b/a Sweatt Construction
    ____________________________________________________________
                                                                 Check all that apply.
                                                                           "   Contingent
       720 S. Texaco Rd.                                                   "   Unliquidated
    ____________________________________________________________
                                                                           "   Disputed
       Hobbs, NM 88240
    ____________________________________________________________
                                                                                                Trade Debt
                                                                           Basis for the claim: ________________________
                                                12/2013 - 10/2014XXX Is the claim subject to offset?
    Date or dates debt was incurred            ___________________
                                                                     "5 No
    Last 4 digits of account number            ___ ___ ___ ___             "   Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    2 of ___
                                                                                                                                                  page __    26
           16-10433-tmd       Doc#7 LLC
                 San Gabriel Resources  Filed 04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd Document Pg 13 of
  Debtor       _______________________________________________________   Case number (if known)_____________________________________
               Name                                                   59
 Rctv 3<      Cffkvkqpcn Rcig


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                             34,539.69
                                                                                                                      $________________________________
       Gel Technologies LLC
     ___________________________________________________________      #   Contingent
                                                                      #   Unliquidated
           P.O. Box 51438                                             #   Disputed
     ___________________________________________________________      #   Liquidated and neither contingent nor
       Midland, TX 79710-1438
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes


  8 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:         125,636.88
                                                                 Check all that apply.                                $________________________________
       Grady's Western Supply Co., Inc.
     ___________________________________________________________
                                                                      #   Contingent
                                                                      #   Unliquidated
       P.O. Box 1287                                                  #   Disputed
     ___________________________________________________________
       McCamey, TX 79752-1287
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:         612,296.82
       H&H Flowback Services, LLC                                     Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                      #   Contingent
       506 Crane                                                      #   Unliquidated
     ___________________________________________________________      #   Disputed
       Wickett, TX 79788
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes

  10 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:            14,816.11
                                                                                                                      $________________________________
           Monahans Electric                                          Check all that apply.
     ___________________________________________________________
                                                                      #   Contingent
       701 Tradewinds Blvd.                                           #   Unliquidated
     ___________________________________________________________      #   Disputed
       Midland, TX 79706-2892
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes



  11 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:          397,996.57
                                                                                                                      $________________________________
            Newpark Drilling Fluids LLC
     ___________________________________________________________
                                                                      Check all that apply.
                                                                      #   Contingent
            9320 Lakeside Blvd., Suite 100                            #   Unliquidated
     ___________________________________________________________      #   Disputed
         The Woodlands, TX 77381-1211
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      5
                                                                      #   No
     Last 4 digits of account number          ___ ___ ___ ___         #   Yes




                                                                                                                                                  3     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd       Doc#7 LLC
                 San Gabriel Resources  Filed 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 14 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                             Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:      200,345.99
                                                                 Check all that apply.                         $________________________________
       O-Tex Pumping, LLC
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
       7045 N. Highway  81
                                                                 " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
       Duncan, OK 73533-4001
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

     Date or dates debt was incurred              12/2013 - 10/2014
                                                 ___________________      Is the claim subject to offset?
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes

  13 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    43,964.37
                                                                                                                          $________________________________
       Pason Systems USA Corp.                                   Check all that apply.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
       16035 Table Mountain Pkwy
     ___________________________________________________________ " Disputed
        Golden, CO 80403-1642
     ___________________________________________________________                                Trade Debt
                                                                          Basis for the claim: ________________________

     Date or dates debt was incurred
                                                      12/2013 - 10/2014
                                                 ___________________      Is the claim subject to offset?
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes

  14 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  393,596.58
                                                                                                                          $________________________________
           ProPetro Services, Inc.                               Check all that apply.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         P.O. Box 873
     ___________________________________________________________ " Disputed
           Midland, TX 79702-0873
     ___________________________________________________________
                                                                                                Trade Debt
                                                                          Basis for the claim: ________________________

     Date or dates debt was incurred              12/2013 - 10/2014
                                                 ___________________      Is the claim subject to offset?
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes

  15 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     71,782.00
                                                                                                                          $________________________________
           Ready Drill, LLC
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
        1601 S. Stockton Ave.                                    " Unliquidated
     ___________________________________________________________ " Disputed
         Monahans, TX
     ___________________________________________________________                                Trade Debt
                                                                          Basis for the claim: ________________________
                                                      12/2013 - 10/2014   Is the claim subject to offset?
     Date or dates debt was incurred             ___________________
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          "   Yes



  16 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  604,675.10
           Ryan Drilling, LLC d/b/a O'Ryan Drilling              Check all that apply.                                    $________________________________
     ___________________________________________________________
                                                                 " Contingent
        One Mission Blvd.
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
        Odessa, TX 79765
     ___________________________________________________________                                Trade Debt
                                                                          Basis for the claim: ________________________
                                                  12/2013 - 10/2014       Is the claim subject to offset?
     Date or dates debt was incurred             ___________________
                                                                          "5 No
     Last 4 digits of account number             ___ ___ ___ ___          " Yes




    Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                      4      26
                                                                                                                                                 page __ of ___
           16-10433-tmd       Doc#7LLC
                 San Gabriel Resources  Filed 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 15 of
                                                                                                16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  17 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:             243,475.50
                                                                 Check all that apply.                                $________________________________
       Schlumberger  Technology
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           1200 Enclave Pkwy #MD323                                   "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
        Houston, TX 77077-1764
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  18 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:         261,758.76
                                                                 Check all that apply.                                $________________________________
       Smith International, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
       16740 Hardy Rd.
     ___________________________________________________________      "   Disputed
        Houston, TX 77032-1125
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:               479,890.48
                                                                 Check all that apply.                                $________________________________
           TEC Well Service, Inc.
     ___________________________________________________________
                                                                 " Contingent
         851 W. Harrison Rd.
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
         Longview, TX 75604-5208
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes
  20 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:               15,024.9
                                                                 Check all that apply.                                $________________________________
      Commerce Bank
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 414084                                          " Unliquidated
     ___________________________________________________________ " Disputed
           Kansas City, Missouri
     ___________________________________________________________
                                                                                             Credit Card Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred              2016
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number           4 ___
                                              ___ 0 ___
                                                     0 ___
                                                         8            " Yes


  21 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                129,914.13
            Terratek                                             Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
        730 Ardmore St.                                          " Unliquidated
     ___________________________________________________________ " Disputed
         Houston, TX 77054
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                  5       26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd       Doc#7 LLC
                 San Gabriel Resources  Filed 04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd  Document Pg 16 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  22 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.                                      390,460.66
                                                                                                                      $________________________________
      Thomas  Energy   Services, LLC d/b/a
     ___________________________________________________________ " Contingent
       Thomas Tool, LLC                                          " Unliquidated
           10370 Richmond Ave., Suite 650                             "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
        Houston, TX 77042-4141
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  23 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                999,590.05
                                                                                                                      $________________________________
           Viking Coil Tubing, LLC                               Check all that apply.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        16803 Dallas Pkwy
     ___________________________________________________________ " Disputed
         Addison, TX 75001-5212
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  24 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   37,360.37
           Wildcat Oil Tools, LLC                                Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         P.O. Box 50592
     ___________________________________________________________ " Disputed
         Midland, TX 79710-0592
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred            12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  25 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                135,396.28
           William Caton Welding                                 Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
         1406 9th St.                                            " Unliquidated
     ___________________________________________________________ " Disputed
          Eunice, NM 88231
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                              12/2013 - 10/2014       Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  26 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   15,527.70
           WTG Fuels, Inc.                                       Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 3514                                            " Unliquidated
     ___________________________________________________________ " Disputed
        Midland, TX 79702-3514
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                  6
                                                                                                                                             page __ of 26
                                                                                                                                                        ___
           16-10433-tmd      Doc#7
                    San Gabriel         Filed
                                Resources LLC 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 17 of
                                                                                                16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  27 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:          3,400.00
                                                                 Check all that apply.                         $________________________________
        2X Rentals, LLC
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
       925 W. Winkler St.                                        " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
         Kermit, TX 79745
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  28 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                          305,737.09
                                                                                                                     $________________________________
       Alvy's Logistics
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
           2117 W. Airport Fwy, Suite 46
     ___________________________________________________________     "   Disputed
           Irving, TX 75062-6070
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  29 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 108.00
       Armstrong Gas Labs, Inc.                                  Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
       P.O. Box 988
     ___________________________________________________________ " Disputed
       Monahans, TX 79756-0988
     ___________________________________________________________
                                                                                          Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014
     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes
  30 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:               47,436.00
           Battle Energy Services                                Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 7                                               " Unliquidated
     ___________________________________________________________ " Disputed
           Lovington, NM 88260-0007
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  31 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 2,786.18
           Blair Tool, LLC                                       Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
        P.O. Box 160                                             " Unliquidated
     ___________________________________________________________ " Disputed
            Hobbs, NM 88241-0160
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                 7     26
                                                                                                                                            page __ of ___
           16-10433-tmd      Doc#7
                    San Gabriel         Filed
                                Resources LLC 04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd  Document Pg 18 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  32 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                           29,167.10
                                                                                                                     $________________________________
       Insource Insurance Group                                  Check all that apply.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        5108 Wayland Dr.                                         " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
        Odessa, TX 79762-5513
     ___________________________________________________________    disputed

                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  33 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:          31,841.25
                                                                 Check all that apply.                               $________________________________
        Bruce Franks Rentals, LLC
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
           P.O. Box 315                                              "   Disputed
     ___________________________________________________________
           Lockhart, TX 78644-0315
     ___________________________________________________________
                                                                                          Trade Debt
                                                                     Basis for the claim: ________________________
                                             12/2013 - 10/2014       Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  34 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:           26,570.98
                                                                 Check all that apply.                               $________________________________
        CalTex Water LLC
     ___________________________________________________________
                                                                     "   Contingent
                                                                     "   Unliquidated
         5820 Manchester Ln.
     ___________________________________________________________     "   Disputed
         San Angelo, TX 76901-5020
     ___________________________________________________________
                                                                     Basis for the claim: Trade Debt
                                                                                          ________________________

     Date or dates debt was incurred         12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  35 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  3,031.31
                                                                 Check all that apply.                               $________________________________
          The Cavins Corporation
     ___________________________________________________________
                                                                 " Contingent
          1800 Bering Dr., Suite 825
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
             Houston, TX 77057-3415
     ___________________________________________________________                          Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  36 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   1,800.00
                                                                                                                     $________________________________
          CC's Cleaning Services
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
           13730 Ella Lee Ln.
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
          Houston, TX 77077-5407
     ___________________________________________________________
                                                                     Basis for the claim: Trade Debt
                                                                                          ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                  8     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __ of ___
           16-10433-tmd
                    San GabrielDoc#7
                                ResourcesFiled
                                         LLC 04/27/16 Entered 04/27/16 21:41:04 Main               Document Pg 19 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  37 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:          19,904.00
                                                                 Check all that apply.                         $________________________________
            Chad's Inspection Services
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            P.O. Box 13873                                       " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
            Odessa, TX 79768-3873
     ___________________________________________________________    disputed
                                                                                          Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  38 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 8,952.29
                                                                 Check all that apply.                               $________________________________
             Chapman Services, Inc.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
           3006 Laurel Ave.
     ___________________________________________________________ " Disputed
              Odessa, TX 79762
     ___________________________________________________________                            Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred
                                               12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  39 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:            10,203.23
                                                                 Check all that apply.                               $________________________________
           Corrosion Ltd.
     ___________________________________________________________
                                                                     "   Contingent
                                                                     "   Unliquidated
              4321 S. County Road 1290
     ___________________________________________________________     "   Disputed
           Odessa, TX 79765-9506
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes
  40 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:              333,354.25
                                                                                                                     $________________________________
              Delta P Petroleum Services
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
                                                                 " Unliquidated
            P.O. Box 2079
     ___________________________________________________________ " Disputed
           Midland, TX 79702-2079
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  41 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  10,702.76
              Derrick Corporation                                Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
           590 Duke Road
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
           Buffalo, NY 14225-5102
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 9      26
                                                                                                                                                 __ of ___
           16-10433-tmd
                    San GabrielDoc#7
                               ResourcesFiled
                                         LLC 04/27/16 Entered 04/27/16 21:41:04 Main               Document Pg 20 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  42 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:                  2,582.48
                                                                 Check all that apply.                                $________________________________
         Diamond   D Slickline Service
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           P.O. Box 216                                               "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
         Snyder, TX 79550-0216
     ___________________________________________________________          disputed
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  43 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:            56,147.50
                                                                 Check all that apply.                                $________________________________
         Double D Tong, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
            P.O. Box 69863
     ___________________________________________________________      "   Disputed
          Odessa, TX 79769-0863
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  44 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:               4,447.45
                                                                 Check all that apply.                                $________________________________
         Down Hole Inspection
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
            P.O. Box 274
     ___________________________________________________________      "   Disputed
            Monahans, TX 79756-0274
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  45 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      3,425.42
             Ellison Fluid Calipers LLC                          Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
           7 Casa Loma
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
           Odessa, TX 79765-8954
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred            12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  46 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       8,945.00
             F&C Transports, Inc.                                Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
           P.O. Box 1162
     ___________________________________________________________ " Disputed
           Monahans, TX 79756-1162
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




                                                                                                                                                     10   26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
           16-10433-tmd
                   San Gabriel Doc#7
                               Resources Filed
                                         LLC    04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmdDocument Pg 21 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  47 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                           152,940.00
                                                                                                                      $________________________________
       Falcon Oilfield Services
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           5855 Sovereign Dr., Suite A                                "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
        Houston, TX 77036-2337
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
  48 Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:         364,317.51
                                                                 Check all that apply.                                $________________________________
       Frac Tank Rentals LLC
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
           P.O. Box 3946                                              "   Disputed
     ___________________________________________________________
        Odessa, TX 79760-3946
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  49 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:              5,750.00
                                                                 Check all that apply.                                $________________________________
        G & K Trucking, Inc.
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
         P.O. Box 176
     ___________________________________________________________      "   Disputed
           Midland, TX 79702-0176
     ___________________________________________________________
                                                                                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
  50 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                   7,204.82
            G & W Trucking, Inc.                                 Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         P.O. Box 163
     ___________________________________________________________ " Disputed
         Snyder, TX 79550-0163
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                              12/2013 - 10/2014
     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  51 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 13,500.00
                                                                                                                      $________________________________
           Gas Well Services, Inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
                                                                 " Unliquidated
         26 E. Compress Road
     ___________________________________________________________ " Disputed
         Artesia, NM 88210-9215
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                  11    26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd
                    San GabrielDoc#7
                               ResourcesFiled
                                        LLC     04/27/16 Entered 04/27/16 21:41:04 Main            Document Pg 22 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:           11,500.00
       GE Oil & Gas Logging Services                             Check all that apply.                         $________________________________
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
        13000 Executive Dr.                                      " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
        Sugar Land, TX 77478-4506
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  53 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:              77,688.29
                                                                 Check all that apply.                               $________________________________
        GE Oil & Gas ESP, Inc.
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
           P.O. Box 9950                                             "   Disputed
     ___________________________________________________________
        Fort Myers, FL 33906-9550
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  54 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   6,000.00
                                                                 Check all that apply.                               $________________________________
           Globe Production Services
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
         8412 Wallisville Road
     ___________________________________________________________ " Disputed
         Houston, TX 77029-1112
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014
     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  55 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 15,176.30
                                                                                                                     $________________________________
             Gray Surface Specialties
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
         3416 W. Wall St., Suite 102
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
          Midland, TX 79701-6700
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  56 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:           131,538.75
                                                                                                                     $________________________________
         Greenleaf Resources, inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                     "   Contingent
            P.O. Box 390                                             "   Unliquidated
     ___________________________________________________________     "   Disputed
            Monahans, TX 79756-0390
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




                                                                                                                                                 12    26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __ of ___
           16-10433-tmd
                    San GabrielDoc#7
                               Resources Filed
                                         LLC    04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmdDocument Pg 23 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  57 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:                   21,850.00
                                                                 Check all that apply.                                $________________________________
           Gyrodata  Incorporated
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
             23000 NW Lake Drive                                      "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
             Houston, TX 77095-5344                                       disputed
     ___________________________________________________________
                                                                                             Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  58 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  111,419.32
                                                                 Check all that apply.                                $________________________________
            Halliburton Energy Services
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
         3000 N. Sam Houston Pkwy E
     ___________________________________________________________ " Disputed
         Houston, TX 77032-3299
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
  59 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:                10,168.24
                                                                 Check all that apply.                                $________________________________
          Hughes Oilfield
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
          2513 N. Mercury Ave.
     ___________________________________________________________      "   Disputed
          Odessa, TX 79763-1922
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

     Date or dates debt was incurred
                                               12/2013 - 10/2014
                                              ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  60 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                        7,278.12
            Jan Electric LLC                                     Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
          402 Technology Dr.                                     " Unliquidated
     ___________________________________________________________ " Disputed
          Bastrop, TX 78602-4304
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014
     Date or dates debt was incurred          ___________________     Is the claim subject to offset?
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  61 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    289,037.49
              JWL Well Services, Inc.                            Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
           P.O. Box 9455                                         " Unliquidated
     ___________________________________________________________ " Disputed
           Midland, TX 79708-9455
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




                                                                                                                                                    13     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
           16-10433-tmd      Doc#7
                    San Gabriel ResourcesFiled
                                          LLC 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 24 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  62 Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:
                                                                 Check all that apply.                              241,556.42K
                                                                                                               $________________________________
     ___________________________________________________________
         J & W Services & Equipment                              " Contingent
                                                                 " Unliquidated
                                                                 " Disputed
         4113 Fairwood Dr.
     ___________________________________________________________ " Liquidated and neither contingent nor
     ___________________________________________________________    disputed
          Midland, TX 79707-14302
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/20141    Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

3.__
  63 Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:
                                                                 Check all that apply.                               $________________________________
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                     " No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  64 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.                               $________________________________
                                                                                                                               14,780.54
     ___________________________________________________________
           Kel-Tech, Inc.                                        " Contingent
           20333 Blinka Rd.                                      " Unliquidated
     ___________________________________________________________ " Disputed
             Waller, TX 77484-7221
     ___________________________________________________________                          Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred           12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

3.__
  65 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.                               $________________________________
                                                                                                                            115,619.32
           Leeson Energy Services, LLC
     ___________________________________________________________
                                                                 " Contingent
           6901 E. Highway 80                                    " Unliquidated
     ___________________________________________________________ " Disputed
              Midland, TX 79706-4512
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes


3.__
  66 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.                                          27,549.50
                                                                                                                     $________________________________
     ___________________________________________________________
           Lewis Casing Crews, Inc.                              " Contingent
           P.O.Box 13747                                         " Unliquidated
     ___________________________________________________________ " Disputed
              Odessa, TX 79768-3747
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          12/2013 - 10/2014
                                             ___________________     Is the claim subject to offset?
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                 14
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      26
                                                                                                                                            page __ of ___
           16-10433-tmd
                   San Gabriel Doc#7
                               Resources Filed
                                         LLC    04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmdDocument Pg 25 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  67 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.                                   17,655.00
                                                                                                               $________________________________
         Liberty Bit Service, Inc.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
         P.O. Box 69709                                          " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
         Odessa, TX 79769-0709
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  68 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:              15,976.23
                                                                 Check all that apply.                               $________________________________
          M & W Hot Oil, Inc.
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
          P.O. Box 898
     ___________________________________________________________     "   Disputed
         Pecos, TX 79772-0898
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  69 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:               180,510.00
                                                                 Check all that apply.                               $________________________________
          M3P Directional Services Ltd.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
          P.O. Box 2552
     ___________________________________________________________ " Disputed
             Midland, TX 79702-2552
     ___________________________________________________________
                                                                                          Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  70 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 35,334.26
                                                                                                                     $________________________________
            Mathena, inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
          601 Weir Way
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
         fort Worth, TX 76108-2508
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  71 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      780.00
             Mitchell Analytical Lab                             Check all that apply.                               $________________________________
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
          2638 Faudree Rd.
     ___________________________________________________________ " Disputed
          Odessa, TX 79765-8538
     ___________________________________________________________
                                                                                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                 15     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd
                  San Gabriel Doc#7     Filed 04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd
                              Resources LLC                                                        Document Pg 26 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  72 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                        80,000.00
                                                                                                               $________________________________
           MKH Transportation, Inc.
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
          P.O. Box 1362                                          " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
          Snyder, TX 79550-1362
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  73 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   2,725.00
                                                                 Check all that apply.                               $________________________________
              Monahans Nipple-Up Service
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            700 N. Loop 464
     ___________________________________________________________ " Disputed
               Monahans, TX 79756
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  74 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  15,280.36
                                                                 Check all that apply.                               $________________________________
            Oil Patch Water & Sewer
     ___________________________________________________________
                                                                 " Contingent
            2407 E. Murphy St., Bldg. C
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
               Odessa, TX
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes
  75 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                 92,026.06
                                                                                                                     $________________________________
             Oil Patch Rental Services, Inc.
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             2407 E. Murphy St., Bldg. C                         " Unliquidated
     ___________________________________________________________ " Disputed
             Odessa, TX
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  76 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  18,359.20
                                                                                                                     $________________________________
             Permian Equipment Rentals
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             P.O. Box 61730                                      " Unliquidated
     ___________________________________________________________ " Disputed
             Midland, TX 79711-1730
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                 16    26
                                                                                                                                            page __ of ___
           16-10433-tmd       Doc#7 LLC
                  San Gabriel Resources Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 27 of
  Debtor       _______________________________________________________                           16-10433-tmd
                                                                          Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  77 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                                6,300.00
                                                                                                                      $________________________________
                                                                 Check all that apply.
         Permian   Power  Tong, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
            P.O. Box 625                                              "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
         Gardendale, TX 79758-0625
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  78 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      130.44
                                                                                                                      $________________________________
            Precision Flow, Inc.                                 Check all that apply.
     ___________________________________________________________ " Contingent

          725 N. Avenue E
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
            Odessa, TX 79763-3161
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  79 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     3,045.20
                                                                 Check all that apply.                                $________________________________
           Pro-Test, Inc.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
           454 FM 1252 E
     ___________________________________________________________ " Disputed
           Kilgore, TX 75662-0003
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes
  80 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                    1,370.43
                                                                                                                      $________________________________
              Pro Welding LLC                                    Check all that apply.
     ___________________________________________________________
                                                                 " Contingent
            2414 W. 49th St.                                     " Unliquidated
     ___________________________________________________________ " Disputed
               Odessa, TX 79764-3931
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  81 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       967.88
                                                                 Check all that apply.                                $________________________________
            Ralph's Welding
     ___________________________________________________________
                                                                 " Contingent
            3728 W. Smith Ln.                                    " Unliquidated
     ___________________________________________________________ " Disputed
            Hobbs, NM 88240
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                  17     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd
                    San GabrielDoc#7
                                ResourcesFiled
                                          LLC 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 28 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  82 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                                 3,510.00
                                                                                                                      $________________________________
             Renegade     Torque and Test
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
                156 Tri Boss                                          "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
              La Vernia, TX 78121
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  83 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:           118,290.67
                                                                 Check all that apply.                                $________________________________
             RTO Sales & Leasing, Inc.
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
              6931 E. Business 20
     ___________________________________________________________      "   Disputed
              Odessa, TX 79762
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

 84 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:            119,772.50
                                                                 Check all that apply.                                $________________________________
               Sanjan Hot Shot & Transport
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
                 2626 Jon Ben Sheppard Pkwy                           "   Disputed
     ___________________________________________________________
               Odessa, TX 79761
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  85 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     11,832.00
                                                                                                                      $________________________________
               Scientific Drilling
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             325 Faudree Rd.                                     " Unliquidated
     ___________________________________________________________ " Disputed
             Odessa, TX 79765
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



 86 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                        9,790.14
                                                                 Check all that apply.                                $________________________________
            SK Supply Co.
     ___________________________________________________________
                                                                 " Contingent
            1606 S. Regal Ave.                                   " Unliquidated
     ___________________________________________________________ " Disputed
               Odessa, TX 79763-5001
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes




                                                                                                                                                   18      26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
           16-10433-tmd
                    San GabrielDoc#7
                                ResourcesFiled
                                          LLC 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 29 of
                                                                                                 16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  87 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:               32,577.65
                                                                 Check all that apply.                         $________________________________
           Smith Brothers Pipe
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            2707 E. Interstate 20                                " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
            Midland, TX 79706
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                                 12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes

  88 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:              410,872.40
                                                                 Check all that apply.                                $________________________________
            Sooner Pipe, L.L.C.
     ___________________________________________________________      "   Contingent
               401 S. Boston Ave., Suite 1000                         "   Unliquidated
     ___________________________________________________________      "   Disputed
               Tulsa, OK 74103-4010
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                  12/2013 - 10/2014   Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes

  89 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:                16,124.18
                                                                 Check all that apply.                                $________________________________
          Stabil Drill
     ___________________________________________________________
                                                                      "   Contingent
                                                                      "   Unliquidated
            2805 S. County Road 1207                                  "   Disputed
     ___________________________________________________________
            Midland, TX 79706-3756
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                 12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes
  90 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                       3,600.00
                                                                 Check all that apply.                                $________________________________
          Stoner Engineering LLC
     ___________________________________________________________
                                                                 " Contingent
          1010 10th St., Suite 104                               " Unliquidated
     ___________________________________________________________ " Disputed
          Golden, CO
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       "   Yes



  91 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  109,968.50
                                                                 Check all that apply.                                $________________________________
           Suttles Logging, Inc.
     ___________________________________________________________
                                                                 " Contingent
           P.O. Box 10725                                        " Unliquidated
     ___________________________________________________________ " Disputed
              Midland, TX 79702-7725
     ___________________________________________________________                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                 12/2013 - 10/2014    Is the claim subject to offset?
     Date or dates debt was incurred            ___________________
                                                                      "5 No
     Last 4 digits of account number            ___ ___ ___ ___       " Yes



                                                                                                                                                  19     26
    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page __ of ___
           16-10433-tmd      Doc#7
                    San Gabriel         Filed
                                Resources LLC 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 30 of
                                                                                                16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  92 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                              493.50
                                                                                                               $________________________________
            Tejas Hot Shot Service &
     ___________________________________________________________ " Contingent
                                                                 " Unliquidated
            13808 W. Highway 80 E                                " Disputed
     ___________________________________________________________ " Liquidated and neither contingent nor
            Odessa, TX 79765-9300
     ___________________________________________________________    disputed
                                                                                         Trade Debt
                                                                 Basis for the claim: ________________________

                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  93 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:                2,890.00
                                                                 Check all that apply.                               $________________________________
             Thompson Laydown LLC
     ___________________________________________________________     "   Contingent
                                                                     "   Unliquidated
                P.O. Box 70190
     ___________________________________________________________     "   Disputed
                Odessa, TX 79769-1190
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  94 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                  14,445.00
                                                                 Check all that apply.                               $________________________________
               Tops, Inc.
     ___________________________________________________________
                                                                 " Contingent
                                                                 " Unliquidated
               12614 West County Rd. 91
     ___________________________________________________________ " Disputed
               Midland, TX
     ___________________________________________________________                          Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes

  95 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                     2,775.00
                                                                 Check all that apply.                               $________________________________
              Tramco Services, Inc.
     ___________________________________________________________
                                                                 " Contingent
              P.O. Box 13358                                     " Unliquidated
     ___________________________________________________________ " Disputed
                 Odessa, TX 79768-3358                                                     Trade Debt
     ___________________________________________________________
                                                                     Basis for the claim: ________________________
                                              12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         "   Yes



  96 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                   59,959.68
                                                                                                                     $________________________________
              Ulterra Drilling
     ___________________________________________________________
                                                                 Check all that apply.
                                                                 " Contingent
             420 Throckmorton St., Suite 1110
                                                                 " Unliquidated
     ___________________________________________________________ " Disputed
             Fort Worth, TX 76102-3728
     ___________________________________________________________                           Trade Debt
                                                                     Basis for the claim: ________________________
                                               12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                     "5 No
     Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                 20     26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                            page __ of ___
           16-10433-tmd      Doc#7
                     San Gabriel        Filed
                                 Resources LLC 04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd Document Pg 31 of
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  97 Nonpriority creditor’s name and mailing address
3.__                                                             As of the petition filing date, the claim is:
                                                                                                                                       658.18
                                                                                                                      $________________________________
                                                                 Check all that apply.
         United  Vision Logistics
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
             3210 North FM 1936                                       "   Disputed
     ___________________________________________________________      "   Liquidated and neither contingent nor
             Odessa, TX 79764
     ___________________________________________________________          disputed
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________

                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  98 Nonpriority creditor’s name and mailing address
3.__
                                                                      As of the petition filing date, the claim is:                97,375.01
                                                                 Check all that apply.                                $________________________________
          Vaughn Energy Services
     ___________________________________________________________      "   Contingent
                                                                      "   Unliquidated
             P.O. Box 261021                                          "   Disputed
     ___________________________________________________________
           Corpus Christi, TX 78426-1021
     ___________________________________________________________
                                                                                            Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

  99 Nonpriority creditor’s name and mailing address
3.__
                                                                 As of the petition filing date, the claim is:                      95,116.39
                                                                 Check all that apply.                                $________________________________
             Wadeco Specialties, Inc.
     ___________________________________________________________
                                                                 " Contingent
          8115 W. Industrial Ave.                                " Unliquidated
     ___________________________________________________________ " Disputed
             Midland, TX 79706
     ___________________________________________________________
                                                                                           Trade Debt
                                                                      Basis for the claim: ________________________
                                                12/2013 - 10/2014     Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes

3.__
 100 Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                      22,154.19
                                                                 Check all that apply.                                $________________________________
            Watson Packer
     ___________________________________________________________
                                                                 " Contingent
             600 N. Big Springs St.                              " Unliquidated
     ___________________________________________________________ " Disputed
            Midland, TX 79701-4329
     ___________________________________________________________                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         "   Yes



  101
3.__  Nonpriority creditor’s name and mailing address
                                                                 As of the petition filing date, the claim is:                      21,518.24
               West Texas Gas, Inc.                              Check all that apply.                                $________________________________
     ___________________________________________________________
                                                                 " Contingent
             211 N. Colorado St.                                 " Unliquidated
     ___________________________________________________________ " Disputed
              Midland, TX 79701-4607
     ___________________________________________________________
                                                                                           Trade Debt
                                                                      Basis for the claim: ________________________
                                               12/2013 - 10/2014      Is the claim subject to offset?
     Date or dates debt was incurred          ___________________
                                                                      "5 No
     Last 4 digits of account number          ___ ___ ___ ___         " Yes



                                                                                                                                                    21      26
    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
           16-10433-tmd       Doc#7 LLC
                  San Gabriel Resources Filed 04/27/16 Entered 04/27/16 21:41:04 Main              Document Pg 32 of
                                                                                                16-10433-tmd
  Debtor       _______________________________________________________    Case number (if known)_____________________________________
               Name                                                    59
 Part 2:     Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  102 Nonpriority creditor’s name and mailing address
3.__                                                              As of the petition filing date, the claim is:
                                                                                                                                       619.00
                                                                                                                       $________________________________
                                                                  Check all that apply.
               LJA  Hotshot  Service
      ___________________________________________________________      "   Contingent
                                                                       "   Unliquidated
                1407 W. 6th St.                                        "   Disputed
       ___________________________________________________________     "   Liquidated and neither contingent nor
                Hobbs, NM 88240
       ___________________________________________________________         disputed
                                                                                             Trade Debt
                                                                       Basis for the claim: ________________________

                                                 12/2013 - 10/2014     Is the claim subject to offset?
       Date or dates debt was incurred         ___________________
                                                                       "5 No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes

 103
3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:                    1,360.00
                                                                                                                       $________________________________
                  Mendoza's Welding Service                        Check all that apply.
       ___________________________________________________________ " Contingent

                  P.O. Box 3588                                    " Unliquidated
       ___________________________________________________________ " Disputed
                   Odessa, TX 79760-1388
       ___________________________________________________________                           Trade Debt
                                                                       Basis for the claim: ________________________
                                                 12/2013 - 10/2014     Is the claim subject to offset?
       Date or dates debt was incurred         ___________________
                                                                       "5 No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes

  104 Nonpriority creditor’s name and mailing address
3.__
                                                                   As of the petition filing date, the claim is:                110,000.00
                                                                   Check all that apply.                               $________________________________
                  Trans Pecos Trucking
       ___________________________________________________________
                                                                   " Contingent
                  2632 E. Pearl St.                                " Unliquidated
       ___________________________________________________________ " Disputed
                  Odessa, TX 79761
       ___________________________________________________________                          Trade Debt
                                                                       Basis for the claim: ________________________
                                                12/2013 - 10/2014      Is the claim subject to offset?
       Date or dates debt was incurred         ___________________
                                                                       "5 No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes

3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                               $________________________________
       ___________________________________________________________
                                                                   " Contingent
                                                                   " Unliquidated
       ___________________________________________________________ " Disputed
       ___________________________________________________________
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       " No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                               $________________________________
       ___________________________________________________________
                                                                   " Contingent
                                                                   " Unliquidated
       ___________________________________________________________ " Disputed
       ___________________________________________________________
                                                                       Basis for the claim: ________________________

       Date or dates debt was incurred         ___________________     Is the claim subject to offset?
                                                                       " No
       Last 4 digits of account number         ___ ___ ___ ___         " Yes



                                                                                                                                                    22      26
    Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page __ of ___
              16-10433-tmd
                   San Gabriel Doc#7
                                 Resources Filed  04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd
                                              L.L.C.                                                  Document Pg 33 of
     Debtor       _______________________________________________________    Case number (if known)_____________________________________
                  Name                                                   59
Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                               related creditor (if any) listed?           account number, if
                                                                                                                                                           any

4.1.      John Totz - Totz Ellison PC                                                                               3.1
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           2211 Norfolk, Suite 510
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
           Houston, TX 77098                                                                                        _________________________________
         _________________________________________________________________

4.2.      Colton Johnson                                                                                            3.2
                                                                                                               Line _____
         ___________________________________________________________________________________________________

           316 S. 2nd Street
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Albany, TX 76430
         _________________________________________________________________                                          _________________________________

4.3.       Stewart McKeehan - Stewart McKeehan Attorney at Law, P.C.                                                 3.3
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          617 E. 7th Street
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Odessa, TX 79761
         _________________________________________________________________                                          _________________________________

4.4.      William T. Peckham and Julie A. Kuglen - Law Offices of William T. Peckham                                3.4
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          1104 Nueces St., Suite 104                                                                                                                       ___ ___ ___ ___
         _________________________________________________________________                                     "    Not listed. Explain ________________
           Austin, TX 78701                                                                                         _________________________________
         _________________________________________________________________

41.       Mark Threadgill - Threadgill Law Firm PLLC
         ___________________________________________________________________________________________________
                                                                                                               Line 3.5,
                                                                                                                    _____3.9 and 3.25
          3800 E. 42nd St., Suite 601                                                                                                                      ___ ___ ___ ___
         _________________________________________________________________                                     "    Not listed. Explain ________________
          Odessa, TX 79762                                                                                          _________________________________
         _________________________________________________________________

4.5.       Ryan J. McNeel - Brocket & McNeel LLP                                                                    3.6
                                                                                                               Line _____
         ___________________________________________________________________________________________________
          Tgaar Tower, 24 Smith Road, Suite 400
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
           Midland, TX 78705                                                                                        _________________________________
         _________________________________________________________________

4.6.       William R. Sudela and Kendall M. Valenti - Crady, Jewett & McCulley LLP                                  3.7
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           2727 Allen Parkway, Suite 1700                                                                      "    Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
           Houston, TX 77019                                                                                        _________________________________
         _________________________________________________________________

4.7.       Bryan D. Mackay - Atkins, Hollmann, Jones, Peacock, Lewis & Lyon                                         3.8
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           3800 E. 42nd St.
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
              Odessa, TX 79762                                                                                      _________________________________
         _________________________________________________________________

4.8.      Moria Chapman - Strausburger Price                                                                         3.10
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           901 Main St., Suite 4400
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Dallas, TX 75202
         _________________________________________________________________                                          _________________________________

4.9.       Carl Dore, Jr, and R. Alex Weatherford - Dore Law Group, P.C.                                            3.11
                                                                                                               Line _____
         ___________________________________________________________________________________________________
           17171 Park Row, Suite 160
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

              Houston, TX 77084
         _________________________________________________________________                                          _________________________________

4.10.         Marc R. May - Woods, May & Matlock, P.C.                                                              3.12 and 3.16
                                                                                                               Line _____
         ___________________________________________________________________________________________________

           2500 Legacy Drive, Suite 226
         _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

           Frisco, TX 75034
         _________________________________________________________________                                          _________________________________

4.11.
                                                                                                                    3.13
                                                                                                               Line _____
               William C. Boyd - Patterson, Boyd & Lowery, P.C.
         ___________________________________________________________________________________________________
                                                                                                               "    Not listed. Explain ________________   ___ ___ ___ ___
            2101 Louisiana St.
         _________________________________________________________________
                                                                                                                    _________________________________
               Houston, TX 77002
         _________________________________________________________________




                                                                                                                                                                         23     26
       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __ of ___
            16-10433-tmd
                 San Gabriel Doc#7
                               Resources Filed  04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd
                                            L.L.C.                                                  Document Pg 34 of
  Debtor        _______________________________________________________    Case number (if known)_____________________________________
                Name                                                   59
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                             related creditor (if any) listed?           account number,
                                                                                                                                                         if any
  12
4.__     George L. Thompson, III - Thompson & Kerby Law Offices                                                   3.14
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         P.O. Box 65150
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Lubbock, TX 79464
       _________________________________________________________________                                          _________________________________

  13
4.__     Roddy Harrison                                                                                           3.15
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         P.O. Box 1908
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
         Pecos, TX 79772                                                                                          _________________________________
       _________________________________________________________________
  14
4.__     Holly C. Hamm - Snow Spence Green LLP                                                               Line 3.17.
                                                                                                                  _____ 3.18, 13.21 and 3.22
       ___________________________________________________________________________________________________
         2929 Allen Pkwy., Suite 2800
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Houston, TX 77019
       _________________________________________________________________                                          _________________________________

  15
4.__     Vance P. Freeman - Freeman Mills PC                                                                      3.19
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         2020 Bill Owens Pkwy., Suite 200
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
         Longview, TX 75604                                                                                       _________________________________
       _________________________________________________________________
  16
4.__     Michael G. Kelly - Kelly, Morgan, Dennis, Corzine & Hansen, P.C.                                    Line _____
       ___________________________________________________________________________________________________
         P.O. Box 1311
       _________________________________________________________________                                     "
                                                                                                             Ï                        Notice Only
                                                                                                                  Not listed. Explain ________________   ___ ___ ___ ___
          Odessa, TX 79760-1311                                                                                   _________________________________
       _________________________________________________________________
  17
4.__     Koy R. Kllen and DaNae Couch - Lovelace Kellen, P.L.L.C.                                                 3.23
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         104 South Main St.
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___
         Burleson, TX 76028                                                                                       _________________________________
       _________________________________________________________________
  18
4.__     Jason B. Hamm - Brockett & McNeel, LLP                                                                   3.24
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         24 Smith Road, Suite 400 - P.O. Box 1841                                                                                                        ___ ___ ___ ___
       _________________________________________________________________                                     "    Not listed. Explain ________________
          Midland, TX 79705                                                                                       _________________________________
       _________________________________________________________________
  19
4.__     G. Will Fowler - G. William Fowler, P.C.                                                                 3.26
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         3800 E. 42nd St., Suite 600
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Odessa, TX 79762
       _________________________________________________________________                                          _________________________________

  20
4.__     Tejas Bank                                                                                          Line _____
       ___________________________________________________________________________________________________

         P.O. Box 140
       _________________________________________________________________                                     "                        Notice Only
                                                                                                                  Not listed. Explain ________________   ___ ___ ___ ___
         Monahans, TX 79756
       _________________________________________________________________                                          _________________________________

  21 Michael Peralta
4.__                                                                                                              3.96
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         317 S. Brand Blvd.
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

        Glendale, CA 91204
     _________________________________________________________________                                            _________________________________

  22   Geoffrey C. Price                                                                                          3.41
4.__                                                                                                         Line _____
     ___________________________________________________________________________________________________

         6010 Balcones Drive, Suite 100
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Austin, TX 78731
       _________________________________________________________________                                          _________________________________

   23
4.__     Jason Michael Rosado - Greenberg, Grant & Richards, Inc.                                                 3.56
                                                                                                             Line _____
       ___________________________________________________________________________________________________
         5858 Westheimer Rd., Suite 500
       _________________________________________________________________                                     "    Not listed. Explain ________________   ___ ___ ___ ___

         Houston, TX 77057
       _________________________________________________________________                                          _________________________________

  24 Eric Bates - Adams, London & Weiss LLC
4.__
                                                                                                                  3.59
     ___________________________________________________________________________________________________
                                                                                                             Line _____
       P.O. Box 37428
     _________________________________________________________________                                       "    Not listed. Explain ________________   ___ ___ ___ ___
       Houston, Texas 77237-0428
     _________________________________________________________________                                            _________________________________

  25 James E. Atwood - Atwood & McCall, PLLC
4.__
                                                                                                                  3.56
    ___________________________________________________________________________________________________
                                                                                                             Line _____
      4144 N. Central Expressway, Suite 910                                                                                                              ___ ___ ___ ___
       _________________________________________________________________                                     "    Not listed. Explain ________________
         Dallas, TX 75204
       _________________________________________________________________                                          _________________________________



                                                                                                                                                                       24   26
       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page __ of ___
            16-10433-tmd      Doc#7 L.L.C.
                San Gabriel Resources    Filed 04/27/16 Entered 04/27/16 21:41:04 Main16-10433-tmd  Document Pg 35 of
  Debtor        _______________________________________________________    Case number (if known)_____________________________________
                Name                                                    59
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the    Last 4 digits of
                                                                                                             related creditor (if any) listed?           account number,
                                                                                                                                                         if any
  26
4.__     Darrell W. Corzine - Kelly, Morgan, Dennis, Corzine & Hanson, P.C.                                      3.86
                                                                                                             Line _____ &   3.40
       ___________________________________________________________________________________________________
         P.O. Box 1311                                                                                                                                   ___ ___ ___ ___
       _________________________________________________________________                                          Not listed. Explain ________________
         Odessa, TX 79760
       _________________________________________________________________                                         _________________________________

  27 Richard J. Judge, Jr. - Ward Law Firm
4.__
                                                                                                                  3.69
                                                                                                             Line _____
       ___________________________________________________________________________________________________

        10077 Grogan's Mill Road, Suite 450
       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___
        The Woodlands, TX 77380                                                                                  _________________________________
       _________________________________________________________________
 28 Lisa R. Aquino - Dore Law Group, P.C.                                                                          3.70
4.__                                                                                                         Line _____
   ___________________________________________________________________________________________________
        17171 Park Row, Suite 160
       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

        Houston, TX 77084
       _________________________________________________________________                                         _________________________________

   29
4.__     Mark A. Padon - LeclairRyan                                                                              3.74
                                                                                                             Line _____   & 3.75
       ___________________________________________________________________________________________________
         1233 West Loop S. #100
       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___
         Houston, TX 77027                                                                                       _________________________________
       _________________________________________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                          Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                           26
                                                                                                                                                                  page __ of ___
          16-10433-tmd
               San Gabriel Doc#7
                             Resources Filed  04/27/16 Entered 04/27/16 21:41:04 Main 16-10433-tmd
                                          L.L.C.                                                  Document Pg 36 of
 Debtor       _______________________________________________________    Case number (if known)_____________________________________
              Name                                                   59
Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                      Total of claim amounts


                                                                                                        0.00
5a. Total claims from Part 1                                                               5a.        $_____________________________




                                                                                                        11,670,804
5b. Total claims from Part 2                                                               5b.   +    $_____________________________




5c. Total of Parts 1 and 2                                                                               11,670,804
                                                                                           5c.        $_____________________________
   Lines 5a + 5b = 5c.




                                                                                                                                    26
   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                              26
                                                                                                                               page __ of ___
        16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 37 of
                                                59
 Fill in this information to identify the case:

                 San Gabriel Resources L.L.C.
 Debtor name __________________________________________________________________

                                       Western                                 Texas
 United States Bankruptcy Court for the:______________________ District of     _______
                                                                              (State)
 Case number (If known):    16-10433-tmd
                            _________________________                        7
                                                                     Chapter _____



                                                                                                                                         " Check if this is an
                                                                                                                                             amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       "   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       "
       Ï  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                          Lease of copier, printer, scanner                 Documentation
         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature      fax machine                                       P.O. Box 660831
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                            Dallas, TX 75266-0831
                                                                                           _________________________________________________________
                                           29 months
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
                                          ____________________________________             _________________________________________________________
         any government contract


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
                                          ____________________________________             _________________________________________________________
         any government contract


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




                                                                                                                                                        1
Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of ___
        16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 38 of
                                                59
 Fill in this information to identify the case:

                 San Gabriel Resources L.L.C.
 Debtor name __________________________________________________________________

                                        Western                                Texas
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    16-10433-tmd
                            _________________________




                                                                                                                                          " Check if this is an
                                                                                                                                              amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       "   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       "
       Ï   Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

           Steven R. Foy               2512 Matthews Dr.                                                   WTG Fuels, Inc.
 2.1     _____________________        ________________________________________________________             _____________________             " D
                                      Street                                                                                                 "
                                                                                                                                             Ï E/F
                                      ________________________________________________________                                               " G
                                      Austin                     TX            78703
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.2       Steven R. Foy                2512 Matthews Dr.                                                   Documentation
         _____________________        ________________________________________________________             _____________________             " D
                                      Street                                                                                                 " E/F
                                                                                                                                             Ï G
                                                                                                                                             "
                                      ________________________________________________________
                                      Austin                      TX5                78703
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.3       Fortitude Energy, LLC 7800 N. MOPAC Expy, Suite 210                                              All creditors on E/F
         _____________________        ________________________________________________________             _____________________             " D
                                      Street                                                                                                 Ï E/F
                                                                                                                                             "
                                      ________________________________________________________                                               " G
                                      Austin                  TX              78759
                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.4
         _____________________        ________________________________________________________             _____________________             " D
                                      Street                                                                                                 " E/F
                                      ________________________________________________________                                               " G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.5
         _____________________        ________________________________________________________             _____________________             " D
                                      Street                                                                                                 " E/F
                                      ________________________________________________________                                               " G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.6
         _____________________        ________________________________________________________             _____________________             " D
                                      Street                                                                                                 " E/F
                                      ________________________________________________________                                               " G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                          page 1 of ___
                                                                                                                                                             1
           16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 39 of
                                                   59

 Fill in this information to identify the case:

                     San Gabriel Resources L.L.C.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                         Western                                                 Texas
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              16-10433-tmd
                                      _________________________


                                                                                                                                                                                                " Check if this is an
                                                                                                                                                                                                   amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                              11,484,983.100
                                                                                                                                                                                                             0
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                  11,484,983.100
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: CreditorsWho Have ClaimsSecured by Property (Official Form 206D)
                                                                                                                                                                                                  0.00
     Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule D..............................................                                                   $ ________________


3.   Schedule E/F: CreditorsWho Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:                                                                                                                                    0.00
           Copy the total claims fromPart 1 fromline 5a of Schedule E/F ....................................................................................                                    $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                    11,674,874.50
           Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F .........................................................                                          +   $ ________________




4.   Total liabilities...................................................................................................................................................................         11,674,874.50
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
      16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 40 of
                                              59

Fill in this information to identify the case:

            San Gabriel Resources L.L.C.
Debtor name __________________________________________________________________
                                        Western
United States Bankruptcy Court for the: ______________________             Texas
                                                               District of _________
                                                                             (State)
Case number (If known):   16-10433-tmd
                          _________________________



                                                                                                                                        Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   12/15

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

         None

           Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
           may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the                                                           Ï   Operating a business
          fiscal year to filing date:          1/1/2016
                                          From ___________         to      4/13/2016                                                 0.00
                                                                                                                                   $________________
                                                                                                  Other _______________________
                                                 MM / DD / YYYY


          For prior year:                      1/1/2015
                                          From ___________         to     12/31/2015
                                                                          ___________         Ï   Operating a business              1,444,217
                                                 MM / DD / YYYY            MM / DD / YYYY                                          $________________
                                                                                                  Other _______________________

          For the year before that:            1/1/2014
                                          From ___________         to     12/31/2014
                                                                          ___________         Ï   Operating a business
                                                 MM / DD / YYYY            MM / DD / YYYY
                                                                                                                                     341,313
                                                                                                                                   $________________
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     Ï None

                                                                                             Description of sources of revenue    Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                             ___________________________          $________________
           fiscal year to filing date: From ___________            to     Filing date
                                                 MM / DD / YYYY



           For prior year:                From ___________         to     ___________
                                                 MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:      From ___________         to     ___________
                                                 MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 41 of
                                                 59
Debtor               San Gabriel Resources L.L.C.
                    _______________________________________________________                                           16-10433-tmd
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,225. (This amount may be
    adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     Ï None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
                                                                                                                  Secured debt
             __________________________________________         ________       $_________________
             Creditor’s name
                                                                                                                  Unsecured loan repayments
             __________________________________________
             Street                                             ________                                          Suppliers or vendors
             __________________________________________                                                           Services
             __________________________________________         ________
             City                          State    ZIP Code                                                      Other _______________________________


     3.2.
                                                                                                                  Secured debt
             __________________________________________         ________       $_________________
             Creditor’s name
                                                                                                                  Unsecured loan repayments
             __________________________________________
             Street                                             ________                                          Suppliers or vendors
             __________________________________________                                                           Services
             __________________________________________         ________
             City                          State    ZIP Code                                                      Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,225. (This amount may be adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

            None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.
             Siete Production Company LLC                      9/17/2015          60,000                    Transfer of leasehold interest in ordinary
             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
                                                                                                             course of business for value.
              515 Congress Ave., Suite 1950
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
              Austin                  TX       78701
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
              Insider
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 42 of
                                                 59
Debtor               San Gabriel Resources L.L.C.
                    _______________________________________________________                                                        16-10433-tmd
                                                                                                           Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     Ï None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     Ï None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

            None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
             See Attached Pages
             _________________________________            ______________________________          __________________________________________               Pending
                                                                                                  Name
                                                                                                                                                           On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                   Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code


             Case title                                                                             Court or agency’s name and address
                                                                                                                                                           Pending
     7.2.
             _________________________________            ______________________________          __________________________________________               On appeal
                                                                                                  Name
                                                                                                                                                           Concluded
             Case number                                                                          __________________________________________
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
 16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 43 of
                                         59



Debtor       San Gabriel Resources L.L.C.                                                     16-10433-tmd




      Case Title         Nature of Case Court’s Name/Address                 Case Number        Status
7.1   American Safety
      Services Inc. dba
                                         Harris County Court At
           American
                          Non-payment              Law
          Production                                                            1071976        Pending
                          of Trade Debt       201 Caroline
       Services v. San
                                         Houston, Texas 77002
            Gabriel
       Resources LLC
7.2        Anderson                      259th District Court for
      Perforating, Ltd.   Non-payment Shakelford County, Texas
                                                                                2015-042       Pending
        v. San Gabriel    of Trade Debt       P.O. Box 507
       Resources LLC                       Anson, Texas 79501
7.3         Apollo                       143rd District Court for
       Perforators, Inc.  Non-payment     Reeves County, Texas                15-10-21226-
                                                                                               Pending
        v. San Gabriel    of Trade Debt  400 S. Allen, Suite 200                  CVR
       Resources LLC                     Monahans, Texas 79756
7.4       Arnold Oil
                                         Travis County Court At
      Company Fuels,
                          Non-payment           Law No. 1                      C-1-CV-15-
         LLC v. San                                                                            Pending
                          of Trade Debt      P.O. Box 1748                       009622
            Gabriel
                                           Austin, Texas 78767
       Resources LLC
7.5   BDA Equipment                      143rd District Court for
       Rental, LLC v.     Non-payment     Reeves County, Texas                15-03-23560-
                                                                                               Pending
         San Gabriel      of Trade Debt  400 S. Allen, Suite 200                  CVW
       Resources LLC                     Monahans, Texas 79756
7.6     GCI, Inc., dba
            Sweatt                       143rd District Court for
       Construction v.    Non-payment     Reeves County, Texas                15-05-21015-
                                                                                               Pending
         San Gabriel      of Trade Debt  400 S. Allen, Suite 200                  CVR
       Resources LLC,                    Monahans, Texas 79756
             et al.
7.7   Gel Technologies                    11th District Court for
         LLC v. San       Non-payment     Harris County, Texas
                                                                               2015-74800      Pending
            Gabriel       of Trade Debt       201 Caroline
       Resources LLC                     Houston, Texas 77002
7.8   Grady’s Western
                                         143rd District Court for
      Supply Co., Inc.
                          Non-payment     Reeves County, Texas                14-11-20861-
        v. San Gabriel                                                                         Pending
                          of Trade Debt  400 S. Allen, Suite 200                  CVR
       Resources LLC,
                                         Monahans, Texas 79756
             et al.




                                                                                                         page 3-1
                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
 16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 44 of
                                         59
                                                                                                   16-10433-tmd


Debtor          San Gabriel Resources L.L.C.

7.9     H&H Flowback                               143rd District Court for
       Services, LLC v.       Non-payment           Reeves County, Texas
                                                                                   15-11-23758      Pending
          San Gabriel         of Trade Debt        400 S. Allen, Suite 200
        Resources LLC                              Monahans, Texas 79756
7.10       Monahans
                                                    98th District Court for                        Pending;
        Electric v. San
                              Non-payment           Travis County, Texas           D-1-GN-15-       Agreed
            Gabriel
                              of Trade Debt            P.O. Box 1748                 003469        Judgment
       Resources LLC,
                                                      Austin, TX 78767                              Entered
             et al.
7.11   Newpark Drilling
                                                   269th District Court for
         Fluids LLC v.
                              Non-payment           Harris County, Texas
          San Gabriel                                                               2015-57336      Pending
                              of Trade Debt             201 Caroline
       Resources LLC,
                                                   Houston, Texas 77002
             et al.
7.12     Ryan Drilling
                                                   161st District Court for
          and O-Tex
                                                    Ector County, Texas
       Pumping, LLC v.        Non-payment                                           B-139,853
                                                     300 North Grant,                               Pending
          San Gabriel         of Trade Debt
                                                         Room 316
       Resources LLC,
                                                     Odessa, TX 79761
             et al.
7.13    Pason Systems                             143rd District Court for
         USA Corp. v.         Non-payment          Reeves County, Texas            15-09-21164-
                                                                                                    Pending
          San Gabriel         of Trade Debt        400 S. Allen, Suite 200             CVR
        Resources LLC                             Monahans, Texas 79756
7.14                                              Midland County Court At
            ProPetro
                                                            Law
         Services, Inc. v.    Non-payment
                                                    500 N. Loraine St.               CC18468        Pending
           San Gabriel        of Trade Debt
                                                     Suite Number 6
         Resources LLC
                                                    Midland, TX 79701
7.15                                              Reeves County Court At
                                                            Law
       Ready Drill, LLC
                              Non-payment          100 East Fourth Street
        v. San Gabriel                                                                 4275C        Pending
                              of Trade Debt               Suite 207
        Resources LLC
                                                    Pecos, Texas 79772

7.16   Schlumberger
                                                    80th District Court for                        Pending;
       Technology v.
                              Non-payment           Harris County, Texas                            Agreed
        San Gabriel                                                                 2015-06693
                              of Trade Debt             201 Caroline                               Judgment
      Resources LLC,
                                                    Houston, Texas 77002                            Entered
            et al.
7.17       Smith
                                                   133rd District Court for                        Pending;
     International, Inc.
                              Non-payment           Harris County, Texas                            Agreed
       v. San Gabriel                                                               2015-06690
                              of Trade Debt             201 Caroline                               Judgment
      Resources LLC,
                                                   Houston, Texas 77002                             Entered
            et al.
                                                                                                              page 3-2
                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
 16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 45 of
                                         59
                                                                                                  16-10433-tmd


Debtor          San Gabriel Resources L.L.C.

7.18                                              124th District Court for
           TEC Well
                                                   Gregg County, Texas
         Service, Inc. v.    Non-payment
                                                     101 E. Methvin               2015-1132-B     Pending
          San Gabriel        of Trade Debt
                                                        Suite 447
         Resources LLC
                                                   Longview, TX 75601
7.19                         Non-payment
                                                  143rd District Court for
          Tejas Bank v.      of Trade Debt
                                                   Reeves County, Texas           15-11-23729-
           San Gabriel       to Obligor of                                                        Pending
                                                  400 S. Allen, Suite 200             CVW
         Resources LLC          Secured
                                                  Monahans, Texas 79756
                                Creditor
7.20     Terratek v. San                          157th District Court for                        Pending;
             Gabriel         Non-payment           Harris County, Texas                            Agreed
                                                                                   2015-06703
         Resources LLC,      of Trade Debt             201 Caroline                               Judgment
              et al.                              Houston, Texas 77002                             Entered
7.21     Thomas Energy
          Services, LLC
                                                  334th District Court for                        Pending;
           dba Thomas
                             Non-payment           Harris County, Texas                            Agreed
          Tools, LLC v.                                                            2015-06734
                             of Trade Debt             201 Caroline                               Judgment
           San Gabriel
                                                  Houston, Texas 77002                             Entered
         Resources LLC,
              et al.
7.22       Viking Coil                            143rd District Court for                        Pending;
         Tubing, LLC v.      Non-payment           Reeves County, Texas           15-03-20948-     Agreed
           San Gabriel       of Trade Debt        400 S. Allen, Suite 200             CVR         Judgment
         Resources LLC                           Monahans, Texas 79756                             Entered
7.23                                             Midland County Court At
          Wildcat Oil
                                                            Law
         Tools, LLC v.       Non-payment
                                                    500 N. Loraine St.              CC18300       Pending
          San Gabriel        of Trade Debt
                                                      Suite Number 6
         Resources LLC
                                                    Midland, TX 79701
7.24                                              104th District Court for
         William Caton
                                                   Taylor County, Texas
         Welding v. San      Non-payment
                                                         300 Oak St.                26531-B       Pending
            Gabriel          of Trade Debt
                                                          Suite 402
         Resources LLC
                                                    Abilene, TX 79602
7.25                                             County Court at Law No.
       WTG Fuels, Inc.                             2 for Midland County,
        v. San Gabriel       Non-payment           Texas 500 N. Loraine
                                                                                    CC18189       Pending
       Resources, LLC,       of Trade Debt                  St.
             et. al                                   Suite Number 6
                                                    Midland, TX 79701




                                                                                                            page 3-3
                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 46 of
                                                 59
                    San Gabriel Resources LLC                                                                                 16-10433-tmd
Debtor               _______________________________________________________                           Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     Ï None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     Ï None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________              ___________________________________________                 _________________   $__________
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     Ï None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 47 of
                                                 59
Debtor              San Gabriel Resources L.L.C.
                   _______________________________________________________                                               16-10433-tmd
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

           None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Locke Lord LLP
            __________________________________________                                                                    4/22/15
                                                                                                                                             $192,551.50
   11.1.                                                      ___________________________________________
                                                                                                                         ______________       _________
            Address
                                                              ___________________________________________                 5/29/15
            600 Congress Ave., Suite 200
            __________________________________________                                                                    ______________
            Street
            __________________________________________
                                                                                                                          7/29/15
                                                                                                                          ______________
            Austin                    TX 78701
            __________________________________________
            City                        State      ZIP Code                                                               9/21/15
                                                                                                                          ______________

            Email or website address                                                                                      10/21/15
                                                                                                                          ______________
            www.lockelord.com
            _________________________________
                                                                                                                           4/11/16
                                                                                                                          ______________
            Who made the payment, if not debtor?
                                                                                                                           4/13/16
                                                                                                                          ______________
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________

            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary

     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.
     Ï None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 48 of
                                                 59
Debtor              San Gabriel Resources L.L.C.
                   _______________________________________________________                                              16-10433-tmd
                                                                                                  Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


           None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value


                                                                Distribution and loan repayment                             3/4/2015
   13.1.    Steven R. Foy
            __________________________________________          ___________________________________________                 ________________        523,700
                                                                                                                                                $ ________
                                                                                                                            3/6/2015
                                                                 ___________________________________________
            Address                                                                                                         2/25/2015
             2512 Matthews Dr.
            __________________________________________
            Street

            Austin                    TX 78703
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            Managing Member
            __________________________________________




            Who received transfer?                                   Contract payment for indemnity                   Around  2/24/2015             500,000
                                                                 ___________________________________________              ________________      $_________
             Fortitude Energy , LLC
            __________________________________________
                                                                     Leasehold interests for indemnity                Around 2/24/2015 Unknown Value
   13.2.                                                         ___________________________________________

            Address
             7800 N. Mopac Expy., Suite 210
            __________________________________________
            Street
            __________________________________________
             Austin                   TX          78759
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor
             Co-debtor
            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

           Does not apply
            Address                                                                                              Dates of occupancy


   14.1.    401 Congress Ave., Suite 2900
            _______________________________________________________________________                              From       03/2013
                                                                                                                            ____________       To   03/2015
                                                                                                                                                    ____________
            Street
            _______________________________________________________________________

            Austin                                     TX           78701
            _______________________________________________________________________
            City                                             State          ZIP Code

                                                                                                                            03/2015                  04/2016
   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
             515 Congress Ave., Suite 1950
            _______________________________________________________________________
             Austin                                    TX           78701
            _______________________________________________________________________
            City                                             State          ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 49 of
                                          59
  Debtor:    San Gabriel Resources L.L.C.                             16-10433-tmd


         Who received transfer?    Description of property                    Date         Total
                                   transferred or payments                    Transfer     Amount or
                                   received or debts paid in                  was          Value
                                   exchange                                   made


  13.3   Raptor Resources, Inc.       60% interest in leasehold interest in    2/24/2015   $2,557,872.00
         207 San Jacinto Blvd.        Fannin County, Texas
         Suite 300
         Austin, TX 78701




  State of Financial Affairs for Non-Individuals Filing for Bankruptcy                          Page 6-1
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 50 of
                                                 59
Debtor              San Gabriel Resources L.L.C.
                   _______________________________________________________                                                 16-10433-tmd
                                                                                                     Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
           diagnosing or treating injury, deformity, or disease, or
           providing any surgical, psychiatric, drug treatment, or obstetric care?

     Ï No. Go to Part 9.
           Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code                                                                                      Electronically
                                                               ____________________________________________________________
                                                                                                                                               Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code                                                                                      Electronically
                                                               ____________________________________________________________
                                                                                                                                               Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     Ï No.
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                      No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     Ï No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                      Has the plan been terminated?
                            No
                            Yes



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 51 of
                                                 59
Debtor             San Gabriel Resources L.L.C.
                  _______________________________________________________
                                                                                                                        16-10433-tmd
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.
     Ï None
           Financial institution name and address          Last 4 digits of account        Type of account               Date account was       Last balance
                                                           number                                                        closed, sold, moved,   before closing or
                                                                                                                         or transferred         transfer

                                                                                               Checking
   18.1.   ______________________________________          XXXX–___ ___ ___ ___                                          ___________________     $__________
           Name
                                                                                               Savings
           ______________________________________
           Street                                                                              Money market
           ______________________________________
                                                                                               Brokerage
           ______________________________________
           City                  State       ZIP Code                                          Other______________


                                                                                               Checking
   18.2.   ______________________________________          XXXX–___ ___ ___ ___                                          ___________________     $__________
           Name
                                                                                               Savings
           ______________________________________
           Street                                                                              Money market
           ______________________________________
                                                                                               Brokerage
           ______________________________________
           City                  State       ZIP Code                                          Other______________


 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     Ï None

            Depository institution name and address        Names of anyone with access to it              Description of the contents                Does debtor
                                                                                                                                                     still have it?

           ______________________________________         __________________________________             __________________________________              No
           Name                                                                                                                                          Yes
                                                          __________________________________             __________________________________
           ______________________________________
           Street                                         __________________________________             __________________________________
           ______________________________________
           ______________________________________          Address
           City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    Ï None
            Facility name and address                      Names of anyone with access to it             Description of the contents                 Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                         No
           ______________________________________         __________________________________             __________________________________
           Name
                                                                                                                                                         Yes
                                                          __________________________________             __________________________________
           ______________________________________
           Street                                         __________________________________             __________________________________
           ______________________________________
           ______________________________________           Address
           City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 52 of
                                                 59
Debtor             San Gabriel Resources L.L.C.
                  _______________________________________________________                                                  16-10433-tmd
                                                                                                     Case number (if known)_____________________________________
                  Name




 Part 11:         Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     Ï None
           Owner’s name and address                            Location of the property                  Description of the property                 Value

                                                                                                                                                     $_______
           ______________________________________              __________________________________        __________________________________
           Name
                                                               __________________________________        __________________________________
           ______________________________________
           Street                                              __________________________________        __________________________________
           ______________________________________
           ______________________________________
           City                  State       ZIP Code




 Part 12:         Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     Ï No
          Yes. Provide details below.
           Case title                                   Court or agency name and address                 Nature of the case                       Status of case

           _________________________________                                                                                                         Pending
                                                        _____________________________________            __________________________________
           Case number                                  Name                                                                                         On appeal
                                                                                                         __________________________________
                                                        _____________________________________                                                        Concluded
           _________________________________            Street                                           __________________________________
                                                        _____________________________________
                                                        _____________________________________
                                                        City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     Ï No
          Yes. Provide details below.

          Site name and address                         Governmental unit name and address               Environmental law, if known            Date of notice


           __________________________________           _____________________________________            __________________________________       __________
           Name                                         Name
                                                                                                         __________________________________
           __________________________________           _____________________________________
           Street                                       Street                                           __________________________________
           __________________________________           _____________________________________
           __________________________________           _____________________________________
           City                  State    ZIP Code      City                   State      ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 53 of
                                                 59
Debtor              San Gabriel Resources L.L.C.
                   _______________________________________________________                                                16-10433-tmd
                                                                                                   Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     Ï No
           Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.
     Ï None

            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________         _____________________________________________
            Name                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                        Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________
                                                                                                                From _______         To _______
            City                  State    ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 54 of
                                                 59
Debtor             San Gabriel Resources L.L.C.
                  _______________________________________________________                                                 16-10433-tmd
                                                                                                   Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                  None
              Name and address                                                                                  Dates of service

                                                                                                                     3/2013
                                                                                                                From _______          3/2016
                                                                                                                                   To _______
   26a.1.     Noemi Pena
              __________________________________________________________________________________
              Name
               9221 Ovalla Dr.
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               Austin                                       TX                  78749
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                  None

                     Name and address                                                                           Dates of service

                                                                                                                     3/2013
                                                                                                                From _______          3/2016
                                                                                                                                   To _______
         26b.1.      Paula A. Wendling
                     ______________________________________________________________________________
                     Name
                      221 West Sixth Street
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     Austin                                        TX                  78701
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                  None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.      Paula A. Wendling
                     ______________________________________________________________________________             _________________________________________
                     Name
                      221 West Sixth Street                                                                     _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     Austin                                        TX                  78701
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 55 of
                                                 59
Debtor                San Gabriel Resources L.L.C.
                     _______________________________________________________                        Case number (if known)16-10433-tmd
                                                                                                                          _____________________________________
                     Name




                                                                                                                If any books of account and records are
                       Name and address
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              Ï None

                       Name and address


           26d.1.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories

     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     Ï No
            Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 56 of
                                                 59
                   San Gabriel Resources L.L.C.                                                                       16-10433-tmd
Debtor             _______________________________________________________                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______       $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                               Position and nature of any            % of interest, if any
                                                                                                      interest
            Steven R. Foy
            ____________________________        801 W. Fifth St. #2706
                                                _____________________________________________          Managing Member
                                                                                                      ____________________________           100%
                                                                                                                                             _______________

            ____________________________        Austin, Texas 78703
                                                _____________________________________________         ____________________________           _______________

            ____________________________        _____________________________________________         ____________________________           _______________

            ____________________________        _____________________________________________         ____________________________           _______________

            ____________________________        _____________________________________________         ____________________________           _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     Ï No
           Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     Ï No
           Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
         16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 57 of
                                                 59
                    San Gabriel Resources L.L.C.                                                                          16-10433-tmd
Debtor              _______________________________________________________                        Case number (if known)_____________________________________
                    Name




             Name and address of recipient
                                                                                           __________________________     _____________       ______________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________
             ______________________________________________________________
             Street                                                                                                       _____________
             ______________________________________________________________
             ______________________________________________________________                                               _____________
             City                                           State      ZIP Code


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     Ï No
           Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     Ï No
           Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:             Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.
                              4/26/2016
            Executed on      _________________
                              MM / DD / YYYY



               /s/ Steven R. Foy                                                                      Steven R. Foy
            ___________________________________________________________                  Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                 President
            Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
             Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 58 of
                                        59
 B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                          Western                        Texas
                                         _______________ District Of _______________


 In re San Gabriel Resources LLC

                                                                                                             16-10433-tmd
                                                                                                 Case No. ___________________

 Debtor                                                                                                          7
                                                                                                 Chapter ____________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

 1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                192,551.50

                                                                                                             192,551.50
      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                    0.00
      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

 2.   The source of the compensation paid to me was:

            5 Debtor                                  Other (specify)

 3.   The source of compensation to be paid to me is:

            5 Debtor                                  Other (specify)

 4.         5 I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

 5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;
16-10433-tmd Doc#7 Filed 04/27/16 Entered 04/27/16 21:41:04 Main Document Pg 59 of
                                        59
 B2030 (Form 2030) (12/15)

      d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

      e.   [Other provisions as needed]

      Pre-petition defense of litigation involving San Gabriel Resources LLC in over two-dozen lawsuits.




 6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




 7. Explanation of Fees: A substantial portion of the fees disclosed were incurred in defense of the over two-dozen lawsuits
 that have been filed against San Gabriel Resources, LLC. Those fees are being disclosed in connection with this bankruptcy
 because those fees were incurred in defense of claims made by creditors of San Gabriel Resources, LLC.

 The legal fees I have agreed to accept for services provided to San Gabriel Resources, LLC directly related to this bankruptcy
 case are in the amount of $5,000.00. These fees have been accepted, and there is a $0.00 outstanding balance due.




                                                       CERTIFICATION

               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
            me for representation of the debtor(s) in this bankruptcy proceeding.

             4/26/16
            ______________________                   /s/ Berry D. Spears
            Date                                     Signature of Attorney

                                                      Locke Lord LLP
                                                     Name of law firm
